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 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                         No. 18-00105MJ
10                         Plaintiff,                  ORDER
11   v.
12   Douglas Haig,
13                         Defendant.
14
15            The Court has considered Defendant’s Unopposed Motion to Continue Status
16   Hearing (Doc. 9), and good cause appearing,
17            IT IS ORDERED the status hearing presently set for February 15, 2018 is reset to
18   March 15, 2018 at 11:00 a.m. before Magistrate Judge Michelle H. Burns, Sandra Day
19   O’Connor U.S. Courthouse, 401 W. Washington Street, Phoenix, Arizona 85003,
20   Courtroom 303.
21            IT IS FURTHER ORDERED that excludable delay under Title 18 U.S.C.
22   § 3161(h)______ will commence on _______for a total of ______days.
23            Dated this 13th day of February, 2018.
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